Case 21-04077   Doc 16-8 Filed 01/14/22 Entered 01/14/22 21:47:06   Desc Exhibit
                   H Trustees Document Request Page 1 of 4




                         Exhibit “H”
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Case 21-04077         Doc 16-8 Filed 01/14/22 Entered 01/14/22 21:47:06                Desc Exhibit
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                      The Law Office of Mark A. Weisbart
                                         Attorney at Law
                                      12770 Coit Road, Suite 541
                                         Dallas, Texas 75251

(972)628-4903 Phone                                                              mark@weisbartlaw.net

                                         November 21, 2019




Via Email and First-Class Mail
Eric A. Liepins
Law Office of Eric A. Liepins,P.O.
12770 Coit Road, Suite 1100
Dallas, TX 75251
eric@,ealpc.com

Re:    Muhammad Siddiqi
       Bankruptcy Case No. 19-42834

Dear Eric,

       Please provide the following:

               1.     2015 Tax Return;

               2.     2016 Tax Return;

               3.     2017 Tax Return;

               4.     All documents, including financial records, of Hiba Entertainment, Inc.;

               5.     Detailed itemization of all scheduled household personal property by
                      description and value;

               6.     Detailed itemization of all scheduled jewelry and associated value;

               7.     Copies oftitles to all scheduled vehicles and all purchase documents related to
                      the vehicles;

               8.     Proof of Debtor's brother's payment for one of the vehicles and identity of
                      such vehicle by the YIN;

               9.     Copies of all documents identifying the Debtor's personal liability on any
                      scheduled debts which the Debtor considers a business debt;

               10. Debtor's divorce decree and complete contact information for the Debtor's ex-
                      wife;
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                                                                                       Liepins
                                                                            November 21, 2019




              11. Contact information for the Debtor's brother, including full name, address,
                  email address and phone number;

              12. Bank statements on all accounts(including the Debtor's wife's accounts)since
                   January 1, 2016;

              13. To the extent not identified on the Debtor's Schedules, a list of the Debtor's
                   wife's separate or sole management community property;

              14. All agreements related to the Debtor's employment at or involvement with
                   Eagle Protection Group, Inc.;

              15. Copy of the Debtor's current passport;

              16. Copy of the Ropal Entertainment lawsuit;

              17. Formation documents for Eagle Protection Group, Inc.;

              18. K-l's or 1099's issued to the Debtor by Eagle Protection Group, Inc. for the
                  last four(4) years; and

              19. Source of the mortgage payments for the twenty-four (24) months prior to the
                  Petition Date, including copies of the checks.

       Please advise if you have any questions or cannot provide these documents within the next
two (2) weeks. To confirm, the §341 meeting of creditors is continued to December 13, 2019 at
11:30 a.m. Mr. Siddiqi should plan on attending.

                                                   Sincerely,



                                                   Mark A. Weisbart


MAW/ts


cc:    Muhammad Siddiqi
       6701 Havenhurst Ct.
       Allen, TX 75002-3028
